                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 DONALD MIDDLEBROOKS,                          )
                                               )
         Plaintiff,                            )
                                               )     NO. 3:19-cv-01139
 v.                                            )
                                               )     JUDGE CAMPBELL
 LISA HELTON, et al.,                          )
                                               )
         Defendants.                           )

                                             ORDER

        Pending before the Court is Plaintiff’s Emergency Motion for Protective Order to Preserve

Evidence. (Doc. No. 55). Defendants filed a Response to the Motion indicating that they have no

objection to preserving the evidence listed in numerical paragraph 5(a) – (e). (Doc. No. 56).

        Based on these filings, it appears to the Court that the parties are in agreement that the

evidence listed below should be preserved. Accordingly, Plaintiff’s Motion is GRANTED and

Defendants and their agents are hereby ORDERED to preserve the following evidence pending

further order of the Court:

            a. All lethal injection chemicals that were intended for use in the Oscar Smith

                Execution;

            b. All packaging of the lethal injection chemicals that were intended for use in the

                Oscar Smith Execution;

            c. All package inserts of the lethal injection chemicals that were intended for use in

                the Oscar Smith Execution;

            d. All email, text messages, or any document whatsoever relating to the oversight in

                preparation for the lethal injection of Oscar Smith; and



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     e. Any photographs, video, or audio recordings relating to the oversight in preparation

        for the lethal injection of Oscar Smith.

  It is so ORDERED.

                                              ___________________________________
                                              WILLIAM L. CAMPBELL, JR.
                                              UNITED STATES DISTRICT JUDGE




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